
McGrown, J.
The action was commenced to recover $228 for goods alleged to have been sold and delivered to the defendants, as co-partners, doing business under the firm name of “ Bloch &amp; Wise," on or about the 1st day of November, 1891.
Defendant Bloch, in his answer, denied each and every allegation in the complaint, excepting that the defendants were co-partners on the day alleged in the complaint, November 1, 1891.
The defendant Wise appeared, but made default in pleading.
Plaintiff’s witness, Joseph H. White, testified to the sale and delivery of the goods in question to the defendant, Simon Wise, and that the reasonable value thereof was the sum of $228.
The defendant, Simon Wise, called as a witness on the part of the plaintiff, testified:
“ That he was a member of the late firm of Bloch &amp; Wise, and that said firm purchased the goods in question a few days after the partnership was formed, and that he told defendant Bloch that he, Wise, had bought the goods and that Bloch said we could use the braid.’’
Defendant Bloch in substance testified that he did not purchase the goods, but that the goods in question were put in as part of his, AATise’s, capital stock, and testified that he saw the goods in defendants’ store.
No other evidence was offered on the part of the defendant.
The defendants’ counsel asked that the case be submitted to the jury on the fact as to whether the co-partnership firm purchased the goods.
The court directed a verdict in favor of the plaintiff for the amount claimed, two hundred and twenty-eight dollars ($228.)
There was no error committed by the trial justice in directing the verdict, as there was no question of fact to be submitted to the jury.
The defendant Wise testified that he purchased the goods *150for the firm, and his evidence was corroborated by the witness. White.
Defendant Bloch testified that “there were no goods whatever purchased to my knowledge after Wise went in there, by Wise or by me, from these people.”
Wise, the defendant, as a partner, had full power to purchase goods for the firm of Bloch &amp; Wise, and, upon such purchase, said firm became liable therefor.
The judgment and order appealed from must be affirmed, with costs to the respondent.
Van Wyok and Fitzsimons, JJ., concur.
